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                   EXHIBIT A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 TECSPEC LLC, RICHARD ROSE, ROBERT
 SENIA, and RALPH SCHLENKER,                                   Case No. 1:24-cv-08077-JHR
                            Plaintiffs,                                        ORDER
          -against-

 MICHAEL DONNOLO, JOSHUA DONNOLO,
 JOHN MICHAEL LONG, BRAYA CONCEPTS
 LLC, BRAYA MACHINE COMPANY LLC,
 BRAYA SYSTEMS LLC, BRAYA VENTURES
 LLC, and ABC CORPORATIONS 1-10

                            Defendants.

         THIS MATTER, having been opened to the Court by Cole Schotz P.C., attorneys for

Plaintiffs, Tecspec LLC, Richard Rose, Robert Senia, and Ralph Schlenker (together, the

“Plaintiffs”), upon the parties’ meeting and conferring on January 23, 2025, as per this Court’s

instructions, in an attempt to resolve the mandatory relief Plaintiffs sought through their initial

application for temporary restraints regarding the information and access required by Plaintiffs

from Defendants to render Tecspec LLC operational, and such attempt being unsuccessful; and for

good cause shown;

         IT IS on this ________ day of January 2025,

         ORDERED that Defendants must fully and sufficiently provide Plaintiffs with the

information requested below:

              1. The location of:

                        a. apContainer;

                        b. modbus2;

                        c. ap3; and



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                        d. pi8.

              2. All open questions regarding the conveyor belt, including but not limited to:

                        a. how the conveyor belt QR codes were generated and applied,

                        b. if the QR codes provide subcomponent traceability and how the lookups are

                           done for that;

                        c. how units are initially entered into the database via QR code;

                        d. whether the script used for smaller portions of the conveyor belt were

                           iterative or used for different components;

                        e. the startup process for the conveyor belt system;

                        f. the functions of the associated kiosks, test rigs, and pcams; and

                        g. how the testrigX.py files run.

              3. All documentation related to the calibration of testing equipment;

              4. Whether Cloudkey0 or I uses DNS, and other related special configurations;

              5. Whether all devices need to access the Tecspec Prod wireless network to run the

                  Python scripts;

              6. Sequence of operations for the three programs involved in the nozzle

                  manufacturing;

              7. The name, location, and execution of the SQL program that runs the assembly line;

              8. The software used to program the Belimo valve;

              9. Information regarding and location of the central panel program and name and

                  phone number of the panel builder;




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    Dated: January ___, 2025
    New York, New York




                                          HON. JENNIFER H. REARDEN




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